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Lanfear Consulting & Investigations .

P. G. Box 183356 Shelby Township, Michigan 48318

August 23, 2019

PRIVILEGED AND CONFIDENTIAL

Mr. Edwar Zeineh, Attomey at Law
2800 East Grand River Avenue Suite B
Lansing, Michigan 48912

Re: SURESH REDDY KANDALA
FCI Milan
4004 Arkona Road
Milan , Michigan 48160
Polygraph # LCI-0823-19

POLY 0

HISTORY

Suresh Kandala has been charged federally in a fraudulent scheme to si gn up students to an unaccredited
university where they would not have to attend classes.. These students are in the United States on a visa to
attend university studies, Tke university would allow foreign students to “attend” which would protect
their status in the USA, while not having to actually attend any college classes, Suresh Kandala is thought
to have been recruiting and referring students to the university for a money kickback payment. Undercover
investigators paid $20,000 to Santosh, a friend of Kandala’s, while Kandala was with him. This money

was for having signed up multiple students. Now at the request of his defense counsel, Mr, Edwar Zeineh,
Suresh Kandala is going to submit to a polygraph examination in this matter. The purpose of this
polygraph examination is to determine if Suresh Kandala was being paid to recruit students for the
University of Farmington.

EXAMINATION DATE
A polygraph examination was scheduled for SURESH REDDY KANDALA in the correctional facility FCI
Milan located at 4004 Arkona Road, Milan, Michigan 48160 at 9:00 AM, 08-23-19,

POLYGRAPH RIGHTS
SURESH REDDY KANDALA was informed of his rights according to Act 295, P.A. 1972, The advice of
rights and permission forms were reviewed and signed,

REVIEW MATERIAL

Mr. Zeineh's office provided the background information necessary to conduct this polygraph examination
of Suresh Reddy Kandala, in this matter.

 

PRETEST INTERVIEW

Suresh Kandala denies talking to, rectuiting, or referring any person to become a student of the university.
He denies that the university, or anyone from it, paid him and denies that his onetime roommate, Santosh,
paid him or gave him some kind of break on his tuition, He said Santosh was paid a large amount of
money, $20,000 dollars, and handed it to him and told him to count it. He did so and then Santosh told him
to carry one package, about $10,000 dollars, so that it would be safer then just with him. He said outside in
the car he gave that money back to Santosh who went to a bank and deposited it. Suresh Kandala denies
getting, or keeping, any of that money for himself. All test questions were formulated and reviewed with
SURESH REDDY KANDALA, He acknowledged that he understood them.

 
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INSTRUMENT

During the polygraph examination a Lafayette LX5000 Computerized Instrument, containing electrically
enhanced components was used. The contral question technique was utilized. A blind double verification
test (DVT) was successfully conducted with Suresh Reddy Kandala. The blind D.V.T. serves as an internal
confirmation of the reliability of the chart recordings, the total co-operation of the subject, and the accuracy
of the polygraph examiner's diagnostic ability in the examination conducted on Suresh Reddy Kandala,

RELEVANT TEST QUESTIONS

1. (Q) Did you keep for yourself any of the money Santosh handed you?
(A) No.

 

2. (Q) Did you refer even one person to be a student of the University of Farmington?
(A) No.

3. (Q) Did you recruit even one student for the University of Farmington?
{A) No.

4. (Q) Did anyore ever pay you any money to get students for this University of Farmington?
(A) No.

OPINION
It is the opinion of the undersigned examiner, based on the analysis of the polygraph examénation of
SURESH REDDY KANDALA, that he is being truthful to the pertinent test questions.

COMPUTER SCORING

I submitted the charts from the potygraph examination of Suresh Reddy Kandala to two separate
computerized scoring systems to analyze the charts. The first is a program called PolyScore and was
designed by the scientists of the Johns Hopkins University Applied Physics Laboratory. These are the
same scientists that designed the computerized operating system for polygraph testing. This serves as an
independent objective second opinion of the results of the examination of Suresh Reddy Kandala, The
result of this analysis was that No Deception was Indicated and that the examination of Suresh Reddy
Kandala was found to have less than 0.01 probability of deception. The second is a program called O.8.8.-
3 and is accepted by the American Polygraph Association and is provided by the polygraph instrument
manufacturer, Lafayette Instrument Company. The result of this analysis is that Suresh Reddy Kandala is
truthful and that the probability of the charts being deceptive is less than 0.001,

Respectfully submitted,

Christopher J. Lanfear
Certified Polygraph Examiner
Michigan License # PE-163

CiLAl

¢ Act 295, P.A. of 1972 (MCL 338.1728)

Any recipient of information, repotts or results from a polygraph examiner, except for the person tested, shall not provide, disclose or
convey such information, report or results to a third party, except as may be required by law and the Tules promulgated by the State
Board of Forensic Polygraph Examiners.
